      Case 1:22-cv-00339-SPB      Document 465    Filed 10/15/24   Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE
CONFERENCE OF THE NAACP, et al.,

                          Plaintiffs,
       v.

AL SCHMIDT, in his official capacity as
Secretary of the Commonwealth, et al.,

                         Defendants              Case No. 1:22-cv-00339-SPB

and

REPUBLICAN NATIONAL
COMMITTEE, et al.,

                    Intervenor-Defendants


 SECOND SUPPLEMENTAL MEMORANDUM REGARDING THE STATUS
   OF THE PENDING CROSS-MOTIONS FOR SUMMARY JUDGMENT

      On September 16, Plaintiffs submitted a supplemental response to the Court’s

September 3, 2024 Order (ECF No. 454) noting the vacatur of the Pennsylvania

Commonwealth Court’s decision in Black Political Empowerment Project v. Schmidt,

2024 WL 400321 (Pa. Commw. Ct. Aug. 30, 2024) (“B-PEP”) on procedural grounds.

Plaintiffs stated that, unless instructed otherwise, they would file a further

supplemental memorandum if further state court litigation on this issue is initiated

or renewed.

      After that, a group of organizational plaintiffs including those here filed a

King’s Bench petition in the Supreme Court of Pennsylvania on the same issue as B-

PEP—namely, whether the Pennsylvania Constitution prohibited enforcement of the



                                          1
      Case 1:22-cv-00339-SPB        Document 465      Filed 10/15/24   Page 2 of 4




envelope-dating requirement to disenfranchise Pennsylvania voters. On October 5,

the Pennsylvania Supreme Court denied review without reaching the merits. See

New PA Project Educ. Fund, et al. v. Schmidt, et al., No. 112 MM 2024 (Pa. Oct. 5,

2024).

         Meanwhile, the same state constitutional argument is also raised in an election

appeal pursuant to 25 P.S. § 3157 that is currently pending in Commonwealth Court,

with expedited briefing concluded on October 14. See Baxter v. Philadelphia County

Board of Elections, Nos. 1305 C.D. 2024, 1309 C.D. 2024 (Pa. Commw. Ct.). GOP

Intervenors here are also intervenors in that case.

         The status of the issue is thus unchanged. At present, there is no precedential

ruling from any court of statewide jurisdiction that would protect voters from

disenfranchisement due to the enforcement of the meaningless envelope-date rule.

Plaintiffs accordingly maintain their request that this Court rule on the pending

cross-motions in order to ensure the protection of their federal constitutional rights.

         Unless instructed otherwise, Plaintiffs will file a further supplemental

memorandum if any state court of statewide jurisdiction issues a ruling that would

otherwise protect Pennsylvania voters from unlawful disenfranchisement .

                                    CONCLUSION

         Plaintiffs’ motion for summary judgment should be granted.




                                            2
    Case 1:22-cv-00339-SPB   Document 465    Filed 10/15/24   Page 3 of 4




Dated: October 15, 2024             Respectfully submitted,

                                    /s/ Ari J. Savitzky
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                                    3
      Case 1:22-cv-00339-SPB       Document 465        Filed 10/15/24   Page 4 of 4




                           CERTIFICATE OF SERVICE

      I hereby certify that, on the date set forth below, I caused a true and correct

copy of the foregoing Supplemental Memorandum to be served via the Court’s

electronic filing system upon all counsel of record.


Dated: October 15, 2024                        Respectfully submitted,

                                                        /s/ Ari J. Savitzky
                                                        Ari J. Savitzky

                                                        Counsel for Plaintiffs




                                           4
